      Case 3:06-cv-06384-CRB                Document 18-3        Filed 12/11/06         Page 1 of 11



Not Reported in F.Supp.2d                                                                                 Page 1
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)


                                                          motion to dismiss the section 17(a) claim, and sets a
Briefs and Other Related Documents                        status conference for September 12, 2005, at 8:45
S.E.C. v. MorrisS.D.Tex.,2005.Only the Westlaw            a.m., in Courtroom 11-B. The reasons for the ruling
citation is currently available.                          on the motion to dismiss are set out below.
   United States District Court,S.D. Texas, Houston
                        Division.
 SECURITIES AND EXCHANGE COMMISSION,                                          I. Background
                        Plaintiff,
                            v.                            Morris served as Halliburton's Chief Financial
             Gary V. MORRIS, Defendant.                   Officer during 1998 and 1999, the period relevant to
                 No. Civ.A. H-04-3096.                    the SEC's allegations. (Docket Entry No. 14,
                                                          Amended Complaint, ¶ 1). Halliburton's securities
                   Aug. 18, 2005.                         are registered under section 12(b) of the Exchange
                                                          Act and traded on the New York Stock Exchange.
                                                          Halliburton offered and sold securities under
Stephen J. Korotash, Ft. Worth, TX, for Plaintiff.        registration statements filed in June 1998 and
Timothy R. McCormick, Thompson & Knight,                  October 1998 and a supplement filed in November
Dallas, TX, for Defendant.                                1998. In the amended complaint, the SEC alleges that
                                                          as CFO, Morris signed these registration statements-
          MEMORANDUM AND ORDER                            Forms S-8 and S-3-on Halliburton's behalf. (Id., ¶
ROSENTHAL, J.                                             10-11). Morris also “reviewed, edited, and signed”
*1 The Securities and Exchange Commission sued            the periodic reports Halliburton filed annually (Form
Gary V. Morris, former Chief Financial Officer of         10-K) and quarterly (Form 10-Q). (Id., ¶ 25). Morris
Halliburton Company, for violating sections 17(a)(2)      also “directed others to prepare Halliburton's earnings
and (a)(3) of the Securities Act, 15 U.S.C. § §           releases and analyst teleconference scripts, which he
77q(a)(2)-(a)(3), and section 13(a) of the Exchange       reviewed.” (Id., ¶ 26). The SEC alleges that because
Act, 15 U.S.C. § 78m(a), as well as Exchange Act          “[e]ach of Halliburton's registration statements
Rules 12b-20, 13a-1, and 13a-13, 17 C.F.R. § § 240-       incorporated future filings of the company ...
13a-1, 13a-13, and 12b-2a. The allegations arise from     Halliburton's material misleading statements and
Halliburton's alleged change in the second quarter of     omissions were made in the offer or sale” of
1998 in its accounting treatment of claims for            securities. (Id., ¶ 11).
additional compensation for contracts, without an
accompanying disclosure of the change in periodic         The basis for the SEC's complaint is an accounting
reports and other public statements. The SEC alleges      change it alleges Halliburton adopted in the second
that Morris was “responsible” for ensuring that the       quarter of 1998. The change affected Brown and
periodic reports he reviewed and signed and the           Root Energy Services (BRES), a business unit of the
earnings releases and analyst statements he reviewed      Energy Services Group, one of Halliburton's two
were accurate and complied with Generally Accepted        primary reporting segments.FN1 The accounting issue
Accounting Principles. (Docket Entry No. 1). Morris       is when to recognize as revenues claims for
moved to dismiss both the section 17(a) and 13(a)         additional compensation on construction contracts.
claims under Rule 12(b)(6) of the Federal Rules of        The SEC alleges that from at least 1993 through the
Civil Procedure. (Docket Entry Nos. 6-7). The SEC         first quarter of 1998, Halliburton had recognized
responded and filed an amended complaint. (Docket         claims for additional compensation on contracts
Entry Nos. 14, 15). Morris then moved to dismiss the      “during the period such claims are resolved.” The
amended complaint. (Docket Entry No. 18-20). The          SEC alleges that Halliburton stated that it followed
SEC again responded, (Docket Entry No. 23), and           this approach in its annual Form 10-K reports. In the
Morris replied. (Docket Entry No. 25).                    second quarter of 1998, however, Halliburton began
                                                          recognizing as revenue claims for additional contract
Based on the pleadings; the motions, responses, and       compensation arising from cost overruns that
reply; and the applicable law, this court grants the      Halliburton had not resolved with its customers. The
motion to dismiss the section 13(a) claim; denies the     SEC alleges that Halliburton did not report this


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      Case 3:06-cv-06384-CRB                 Document 18-3        Filed 12/11/06          Page 2 of 11
Not Reported in F.Supp.2d                                                                                   Page 2
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

accounting change until March 2000, in its 1999            to ensure” that Halliburton did not incorporate by
Form 10-K. The SEC alleges that the failure to             reference its former claims recognition policy in the
disclose this change for eighteen months, over six         second and third quarter Forms 10-Q, when that
reporting periods, made the periodic reports and other     policy was no longer in effect. (Id., ¶ 23). As a
public statements issued during those periods              result, the SEC asserts that Morris is responsible for a
materially misleading.                                     material misrepresentation that the second and third
                                                           quarter 1998 Forms 10-Q, the 1998 Form 10-K, and
                                                           the 1999 Forms 10-Q, were prepared in accordance
        FN1. The other reporting unit is the               with GAAP and Commission Regulation S-X, which
        Engineering & Construction Group.                  allegedly required disclosure of the accounting
                                                           change. (Id., ¶ 25).
*2 In mid-1997, Brown & Root began several large
engineering, procurement, and construction (EPC)
projects, that incurred large cost overruns. (Id., ¶ ¶              FN3. The SEC alleges that the increases in
12-14). The SEC alleges that in the second quarter of               pretax income attributable to the accounting
1998, Halliburton changed its accounting treatment:                 change ranged from a high of approximately
by offsetting cost overruns on the BRES EPC                         $87 million reported in the 1998 Form 10-K
contracts with estimated recoveries on claims that                  (a 46 percent increase from $191 million to
had not been resolved with customers. Although                      the reported $279 million) to $36 million in
permitted under Generally Accepted Accounting                       the third quarter of 1998 (when Halliburton
Principles (“GAAP”) in appropriate circumstances,                   reported a loss of $610 million, but omitting
this practice deviated from Halliburton's longstanding              the unapproved claims would have increased
conservative practice of recognizing income only                    the loss by 5.7 percent to $646 million). The
from resolved claims. As a result of the accounting                 amended complaint sets out the comparisons
change, losses from cost overruns on several EPC                    alleged to be misleading. In the second
contracts in the BRES business unit were reduced or                 quarter of 1998, Halliburton's reported
eliminated.                                                         pretax income of $229 million would have
                                                                    been $184 million without including
(Id., ¶ ¶ 16-17). The SEC also alleges Halliburton                  revenues from unresolved claims for
omitted from its 1998 Form 10-K the claims                          additional compensation, a difference of $45
recognition statement that had appeared in previous                 million or 24.8 percent. In the first quarter of
Forms 10-K, but did not explain the change.FN2 (Id., ¶              1999, Halliburton reported pretax income of
21).                                                                $149 million, but without including the
                                                                    unresolved      claims      for       additional
                                                                    compensation in the revenue amount, its
        FN2. The SEC alleges that Halliburton                       income would have been $130 million, a
        compounded the problem by “incorporating                    difference of $19 million or 14.8 percent. In
        by reference” its historical claims                         the second quarter of 1999, Halliburton
        recognition practice statement in its Forms                 reported pretax income of $146 million, but
        10-Q filings for the second and third                       without the unresolved claims for additional
        quarters of 1998. (Id., ¶ 22).                              compensation, its income would have been
                                                                    $136 million, a difference of $10 million, or
The SEC does not allege that Halliburton violated                   7.5 percent. In the third quarter of 1999,
GAAP or the securities laws in the change in                        Halliburton reported a pretax income of
accounting treatment. Rather, the SEC alleges that                  $103 million, while its income without the
the failure to disclose the change, which increased                 additional compensation claimed but not yet
reported income and made quarter-to-quarter income                  resolved with its customers would have been
comparisons between 1997 and 1998 more favorable,                   $92 million, a difference of about $11
violated GAAP and the SEC's Regulation S-X and                      million, or 11.6 percent. (Docket Entry No.
made the public reports materially misleading. FN3                  14, p. 5).
According to the amended complaint, Morris knew of
Halliburton's accounting change and its impact on          The SEC also alleges that Morris is responsible for
Halliburton's income, but “failed to ensure that           his failure to correct materially misleading
Halliburton disclosed the accounting change and its        information in earnings releases and analyst
impact on Halliburton's income.” Morris also “failed       teleconference scripts that he reviewed in the second

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       Case 3:06-cv-06384-CRB                 Document 18-3        Filed 12/11/06         Page 3 of 11
Not Reported in F.Supp.2d                                                                                   Page 3
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

and third quarters of 1998. Morris allegedly attended       recognition of revenue was proper under GAAP and
the teleconferences as Halliburton's president “read        that the SEC has never claimed that Halliburton had
aloud the misleading information in the scripts             to restate its revenues. Morris challenges the SEC's
regarding the company's income. Morris never                assertion that there was a change in accounting
cautioned the president about the misleading                principle under GAAP or that any change in
statements.” (Id., ¶ 26). Finally, the SEC's complaint      accounting treatment was material so as to require
lists the specific misleading statements in each            disclosure.
periodic filing, earnings release, and analyst
teleconference over the relevant six quarters. (Id., ¶ ¶
27-43).                                                              FN4. The SEC also filed civil enforcement
                                                                     actions against Halliburton and its
The SEC asserts two claims against Morris. First,                    controller, Robert Muchmore, Jr., containing
Morris violated sections 17(a)(2) and 17(a)(3) of the                substantially identical allegations. Both
Securities Act by making untrue statements of                        defendants settled and entered agreed final
material facts or omissions of material facts                        judgments. Without admitting or denying
necessary in order to make the statements made not                   the complaint's allegations, Halliburton paid
misleading in the offer or sale of securities. (Id., ¶ ¶             a $7.5 million civil penalty and Muchmore
46-49). The SEC alleges that Morris negligently                      paid a $50,000 penalty. SEC v. Halliburton
engaged in this conduct. Second, the SEC alleges that                Co ., No. 04-CV-3097 (S.D.Tex. Aug. 25,
Morris aided and abetted Halliburton's violations of                 2004) (Atlas, J.). The same defendants also
section 13(a) of the Exchange Act and related rules,                 consented to cease and desist orders barring
by knowingly providing substantial assistance to                     future violations of Securities Act Section
Halliburton in filing materially misleading annual                   17(a) and Exchange Act Section 13(a) and
and quarterly reports. (Id., ¶ ¶ 50-53). The SEC                     related rules. In re Halliburton Co., 2004
seeks a permanent injunction and a civil money                       WL 1737425, at *1 (Aug. 3, 2004).
penalty.
                                                               II. The Legal Standard for a Motion to Dismiss
*3 Morris has moved to dismiss the SEC's amended
complaint.FN4 The first issue is whether Morris is          Rule 12(b)(6) allows dismissal if a plaintiff fails “to
subject to liability under section 17(a) of the             state a claim upon which relief may be granted.” Fed.
Securities Act in the absence of allegations that he        R. Civ. P. 12(b)(6). Rule 12(b)(6) dismissal is
either owned or directly and actively participated in       appropriate only if there is no set of facts that could
offering or selling Halliburton securities. The second      be proven consistent with the complaint allegations
issue is whether the SEC has alleged facts that, if         that would entitle the plaintiff to relief. Scanlan v.
proven, could meet the scienter requirements of             Texas A & M Univ., 343 F.3d 533, 536 (5th
aiding and abetting liability under section 13(a).          Cir.2003). The court must accept all well-pleaded
Morris also claims that the disclosures at issue were       facts as true and view them in the light most
not misleading as a matter of law. (Docket Entry No.        favorable to the plaintiff. Id. In order to avoid
19, at 21). Morris argues that what the SEC                 dismissal, however, a court need not “accept as true
characterizes as a change in accounting policy or           conclusory allegations or unwarranted deductions of
principle was instead the application of an accepted        fact.” Id. (quoting Collins v. Morgan Stanley Dean
accounting rule to certain “qualifying contracts.”          Witter, 224 F.3d 496, 498 (5th Cir.2000)).
Morris argues that the change in accounting treatment
corresponds to a change in the type of contract             In considering a Rule 12(b)(6) motion to dismiss, a
Brown & Root used, moving from “cost-plus”                  court must limit itself to the contents of the
construction contracts to “fixed-fee” projects, rather      pleadings, with one important exception. In Collins,
than a change in accounting principle that would            224 F.3d at 498-99, the Fifth Circuit approved the
require disclosure. Under GAAP, Halliburton was             district court's consideration of documents the
permitted to recognize as revenues unresolved claims        defendant attached to a motion to dismiss. In Collins
against customers for cost overruns on fixed-fee            and later in Scanlan, the Fifth Circuit made it clear
contracts when it was “probable that the claim will         that “such consideration is limited to documents that
result in additional contract revenue” and the              are referred to in the plaintiff's complaint and are
“amount can be reliably estimated.” American                central to the plaintiff's claim.” 343 F.3d at 536,
Institute of Certified Public Accountants' Statement        citing Collins, 224 F.3d at 498-99. Other courts
of Position 81-1(.65). Morris emphasizes that the           approve the same practice, stating that “[d]ocuments

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       Case 3:06-cv-06384-CRB                    Document 18-3       Filed 12/11/06          Page 4 of 11
Not Reported in F.Supp.2d                                                                                      Page 4
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

that a defendant attaches to a motion to dismiss are          several cases holding that one is not a buyer or seller
considered part of the pleadings if they are referred to      of a security under section 12 unless one directly and
in the plaintiff's complaint and are central to her           actively participates in soliciting a sale and is
claim.” Venture Assocs. Corp. v. Zenith Data Sys.             motivated in part by a desire to serve personal
Corp., 987 F.2d 429, 431 (7th Cir.1993); see also             interests or those of the securities owner. See
Field v. Trump, 850 F.2d 938, 949 (2d Cir.1998);              Meadows, 119 F.3d at 1225; Spiegel v. Tenfold
Branch v. Tunnell, 14 F.3d 449, 453-54 (9th                   Corp., 192 F.Supp.2d 1261, 12169 (D.Utah 2002);
Cir.1994).                                                    VT Investors v. R & D Funding Corp., 733 F.Supp.
                                                              823, 839 (D.N.J.1990).

III. The Claim Under Section 17(a) of the Securities          The question is whether the consonant definitions of
                       Act                                    “offer” and “sale” in sections 12 and 17 also restrict
                                                              liability for section 17 claims to the same individuals
*4 In his motion to dismiss the amended complaint,            and entities who could be found liable under section
Morris argues that he was neither an “offeror” nor a          12. In Meadows, the Fifth Circuit expressly avoided
“seller” under section 17(a) of the Securities Act,           this “interpretive issue.” 119 F.3d at 1224 (“The
which states in part:                                         Division disputes Meadow's interpretation of §
It shall be unlawful for any person in the offer or sale      17(a), arguing that § 17(a) encompasses more than
of any securities ... by the use of any means or              just ‘offerors' or ‘sellers' because it applies to ‘any
instruments of transportation or communication in             person in the offer or sale of any security (emphasis
interstate commerce or by use of the mails, directly          added). We need not resolve this interpretive issue.”).
or indirectly                                                 The Meadows court noted that its own research found
(1) to employ any device, scheme, or artifice to              no case on point, but “recognize[d] the Supreme
defraud, or                                                   Court has stated that the language of § 17(a) ‘does
(2) to obtain money or property by means of any               not require that the fraud occur in any particular
untrue statement of a material fact or any omission to        phase of the selling transaction,’ and ‘that ‘[t]he
state a material fact necessary in order to make the          statutory terms [offer and sale] ... are expansive
statements made, in light of the circumstances under          enough to encompass the entire selling process,
which they were made, not misleading; or                      including the seller/agent transaction.” ’ Id. at 1224 n.
(3) to engage in any transaction, practice, or course of      8 (alterations in original) (citing United States v.
business which operates or would operate as a fraud           Naftalin, 441 U.S. 768, 773, 99 S.Ct. 2077, 2081, 60
or deceit upon the purchaser.                                 L.Ed.2d 624 (1979)).

15 U.S.C.A. § 77q(a) (West 2005). Morris argues               *5 The statutes imposing liability under sections 12
that the § does not allege facts that, if proven, would       and 17 are not identical. Section 12(2) of the
show that he was involved in “the offer or sale” of           Securities Act, 15 U.S.C. § 771(2), states:
Halliburton securities because the amended                    “Any person who-
complaint does not allege that he either owned the            (2) offers or sells a security ... by means of a
securities offered for sale or sold or directly and           prospectus or oral communication, which includes an
actively participated in their offer or sale. (Docket         untrue statement of a material fact or omits to state a
Entry No. 19, at 11). Morris points to the Securities         material fact necessary in order to make the
Act's definition of “offer” and “sale” in section             statements, in the light of the circumstances under
2(a)(3) for support: “The term ‘sale’ or ‘sell’ shall         which they were made, not misleading ... shall be
include every contract of sale or disposition of a            liable ... to the person purchasing such security from
security or interest in a security, for value. The term       him....
‘offer to sell’, ‘offer for sale’, or ‘offer’ shall include
every attempt to offer to dispose of, or solicitation of      15 U.S.C.A. § 771(2) (West 2005). Liability attaches
an offer to buy, a security or interest in a security for     to “any person” who “offers or sells a security.” By
value.” 15 U.S.C. § 77b(a)(3). Acknowledging that             contrast, in section 17, liability attaches to “any
“few courts have interpreted the terms ‘offer’ and            person in the offer or sale of any securities.” That
‘sale’ in the context of § 17(a),” Morris argues that         section states:It shall be unlawful for any person in
the Fifth Circuit's decision in Meadows v. § , 119            the offer or sale of any securities ... (1) to employ any
F.3d 1219, 1225 n. 9 (5th Cir.1997), “confirmed” that         device, scheme, or artifice to defraud, or (2) to obtain
these words are interpreted consistently under section        money or property by means of any untrue statement
12 and section 17 of the Securities Act. Morris cites         of a material fact or any omission to state a material

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      Case 3:06-cv-06384-CRB                  Document 18-3       Filed 12/11/06          Page 5 of 11
Not Reported in F.Supp.2d                                                                                   Page 5
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

fact necessary in order to make the statements made,       raised several million dollars from investors in
in light of the circumstances under which they were        securities offerings. All three individual defendants
made, not misleading; or (3) to engage in any              “shared duties in drafting, selecting and reviewing
transaction, practice, or course of business which         the offering materials” for the public offering. The
operates or would operate as a fraud or deceit upon        defendants “violated securities law when they failed
the purchaser.                                             to disclose the source of their distributions to
                                                           investors” and failed to disclose a related entity's
15 U.S.C.A. § 77q(a) (West 2005).                          debt. Citing section 17(a), with other sections of the
                                                           Securities Act, the court stated that “liability arises
The SEC cites several cases in which individuals who       where offering materials to prospective investors
make, create, or assist in the preparation or              contain materially false or misleading statements,
dissemination of material misrepresentations or            including omissions of material facts.” Id. at *7.
omissions in the offer or sale of securities are
subjected to liability under section 17(a). See SEC v.     Morris notes that in most of these cases, the
First Jersey Secs. Inc., 101 F.3d 1050, 1467 (2d           defendants participated in offering or selling
Cir.1996); SEC v. Softpoint, Inc., 958 F.Supp. 846,        securities to a greater degree than “merely signing
862 (S.D.N.Y.1997); SEC v. Whitworth Energy Res.           public filings,” which he asserts is the extent of the
Ltd., 2000 U.S.App. Lexis 31237, at *6 (9th Cir. Dec.      SEC's allegations as to his role in the asserted
1, 2000) (affirming partial summary judgment against       misrepresentations. (Docket Entry No. 19, p. 14).
individual and corporate defendants for failing to         Morris both understates the SEC's allegations as to
disclose source of investor distributions); SEC v.         his involvement and overstates the conclusions that
Buntrock, 2004 WL 1179423, at *10 (N.D.Ill. May            can be gleaned from the sparse case law on the
25, 2004) (denying corporate officers' motion to           subject.
dismiss control person liability claim under § 17(a)).
In several of these cases, courts found section 17(a)      The SEC does not merely allege that Morris “signed”
liability without analyzing the extent to which the        periodic public reports and registration statements
defendants were involved in the offer or sale of           incorporating those public reports. The SEC alleges
securities and whether they would benefit from the         that Morris reviewed and edited these reports before
offer or sale. In Softpoint, 958 F.Supp. at 846, a         signing them, with knowledge of the change in the
district court granted summary judgment against a          accounting treatment as to when to recognize
former officer and director of a corporation for           unresolved claims from contract cost overruns as
violating, among other things, section 17(a) of the        revenue, and with knowledge of the impact of that
Securities Act. The former officer, Stoeckline,            change on earnings. As to the cases under section
prepared and disseminated press releases, periodic         17(a), they do not specifically hold that a defendant
SEC reports, and registration statements. Stoeckline       must either own the security offered or sold or
also received Softpoint stock as compensation, which       actively participate in the offer or sale. To the
he sold through his codefendant company, and               contrary, most of the cases do not analyze the
received the proceeds from the sale of Softpoint stock     defendants' degree of involvement in selling or
that had been issued to another codefendant. Id. at        offering securities. See, e.g., Softpoint, 958 F.Supp. at
852. The court held that because Stoeckline had            862 (noting that signing public filings, preparing and
signed      public    filings   containing     material    disseminating press releases and reports “fall
misrepresentations and participated in schemes to          unmistakably within the broad scope” of 17(a) and
inflate his company's income through unlawful stock        other antifraud provisions); Whitworth, 2000
sales, his “activities fall unmistakably within the        U.S.App. Lexis, at *6 (“Defendants violated
broad scope of conduct prohibited by Sections 17(a)        securities laws when they failed to disclose the
and 10(b) and Rule 10b-5.” Id. at 862.                     source for their distributions to investors and
                                                           Condor's claimed debt. Under section 17(a) [and
*6 In SEC v. Whitworth Energy Resources, an                other antifraud provisions], liability arises where
unpublished decision, the Ninth Circuit upheld a           offering materials to prospective investors contain
district court's grant of summary judgment against         materially false or misleading statements, including
three individuals and three corporate defendants for       omission of material facts.”).
violating section 17(a). 2000 U.S.App. Lexis. 31237,
at *1. The defendants operated an oil and gas              Morris identifies one case from outside the
syndication business. Two of the corporate entities,       jurisdiction that appears to limit section 17(a) to
owned and controlled by two individual defendants,         defendants directly and actively involved in selling or

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       Case 3:06-cv-06384-CRB                   Document 18-3       Filed 12/11/06           Page 6 of 11
Not Reported in F.Supp.2d                                                                                      Page 6
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

offering securities for sale. In Buford White Lumber         court follows the direction provided by Naftalin and
Co. Profit Sharing and Savings Plan & Trust v.               Meadows.
Octagon Properties, Ltd., 740 F.Supp. 1553, 1569
(W.D.Okla.1989), a private plaintiff who had                 The motion to dismiss based on the argument that
purchased securities sued a law firm that had                Morris is not a person alleged to have violated the
prepared prospectuses and offering circulars on              statute “in the offer or sale of a security” is denied.
behalf of a client for the sale of those securities. The
plaintiff alleged that the documents contained false
and misleading statements that violated sections 12          IV. The Claim Under Section 13(a) of the Exchange
and 17(a) and other antifraud provisions. The court                                Act
granted the defendant law firm's motion to dismiss
the section 17(a) claim, finding that “no private cause      The SEC alleges that Halliburton violated section
of action lies for violations of section 17(a).” Id. at      13(a) of the Exchange Act, 15 U.S.C.A. § 78m(a)
1568. The court then added that, alternatively,              (West 2005), and Rules 12b-20, 13a-1, and 13a-13,
“section 17(a), as Defendant notes, applies to those         17 C.F.R. § 240.12b-20, 240.13a-1, and 240.13a-13,
who offer or sell securities.... Plaintiffs have failed to   by filing materially misleading financial reports, and
allege facts showing that the Defendant was an               that Morris knowingly aided and abetted
offeror or seller for purposes of section 17(a).” Id. at     Halliburton's violations. To establish aider and
1569-70.                                                     abettor liability for securities violations, the plaintiff
                                                             must show that: (1) a primary violator committed a
*7 The Buford court did not analyze the statutory            securities violation; (2) the alleged aider and abettor
language of section 17(a). As noted, that section            had a general awareness of his role in the violation;
attaches liability to “any person in the offer or sale of    and (3) the aider and abettor knowingly rendered
any securities,” while section 12 applies to “[a]ny          substantial assistance in furtherance of it. See Abbott
person who-(2) offers or sells a security.” The court        v. Equity Group, Inc., 2 F.3d 613, 621 (5th Cir.1993).
did not distinguish between the two sections. The
Buford case is also distinguishable in that the              Morris argues that the SEC's amended complaint
defendant was a law firm whose involvement in                does not allege facts that, if proven, would support an
selling securities was limited to preparing offering         inference that Morris knowingly aided and abetted
materials for the issuer. Morris, as alleged in the          Halliburton's alleged section 13 and rules violations.
amended complaint, served as chief financial officer         Morris argues that Fifth Circuit authority interprets
for the entity offering its own securities for sale, and     the “knowingly” requirement to require “both
Morris signed the SEC reports and registration               ‘general awareness that [the defendant's] role was
statements accompanying those offerings.                     part of an overall activity that is improper’ and
                                                             knowing assistance in the violation.” (Docket Entry
Although little case law exists on this precise              No. 19, p. 16) (emphasis and alterations in original).
question, the Supreme Court's unanimous decision in          The SEC responds that Morris seeks “to superimpose
Naftalin interpreted section 17(a) expansively. See          on the plain language of section 20(e) an additional
441 U.S. at 778 (“Unlike much of the rest of the             requirement that Morris knew his actions were
[Securities] Act, [section 17(a) ] was intended to           improper and that he knew of his assistance in the
cover any fraudulent scheme in an offer or sale or           violation.” FN5
securities, whether in the course of an initial
distribution or in the course of ordinary market
trading.”); id. at 773 (“The statutory terms, which                   FN5. Section 20(e), “Prosecution of persons
Congress expressly intended to define broadly, are                    who aid and abet violations,” states:
expansive enough to encompass the entire selling                      For purposes of any action brought by the
process, including the seller/agent transaction.”)                    Commission under paragraph (1) or (3) of
(citations omitted). In Meadows, the Fifth Circuit                    Section 78u(d) of this title, any person that
interpreted section 17(a) broadly, consistent with the                knowingly provides substantial assistance to
only Supreme Court guidance available. See                            another person in violation of a provision of
Meadows, 119 F.3d at 1224 n. 8; see also Gustafson                    this chapter, or of any rule or regulation
v. Alloyd Co., Inc., 513 U.S. 561, 573, 115 S.Ct.                     issued under this chapter, shall be deemed to
1061, 131 L.Ed.2d 1 (1995) (approving of and                          be in violation of such provision to the same
relying on Naftalin' s broad interpretation of section                extent as the person to whom such
17(a)). In denying defendant's motion to dismiss, this                assistance is provided.

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       Case 3:06-cv-06384-CRB                 Document 18-3        Filed 12/11/06           Page 7 of 11
Not Reported in F.Supp.2d                                                                                     Page 7
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

         15 U.S.C.A. 78t(e) (West 2005).                    clearly meet the ‘knowledge’ standard advocated by
                                                            Morris.” (Docket Entry No. 23, p. 21). The SEC
*8 The Fifth Circuit addressed the scienter                 understates the legal standard for knowledge under
requirement for aiding and abetting securities              section 13(a) and overstates what it alleged in the
violations in Woodward v. Metro Bank of Dallas,             amended complaint.
stating as follows:
Without meaning to set forth an inflexible definition       The case law supports Morris's argument that
of aiding and abetting, we find that a person may be        Woodward is still applicable law. To state a claim for
held as an aider and abettor only if some other party       aiding and abetting, the plaintiff must allege facts
has committed a securities law violation, if the            that, if true, demonstrate: (1) a securities violation by
accused party had general awareness that his role was       a primary party; (2) that the aider and abettor had a
part of an overall activity that is improper, and if the    general awareness of its role in the violation; and (3)
accused aider-abettor knowingly and substantially           that the aider and abettor knowingly rendered
assisted the violation.                                     substantial assistance in that violation. Abell, 858
                                                            F.2d at 1126. “General awareness means knowledge
522 F.2d 84, 94 (5th Cir.1975) (quoting SEC v.              which, though it may be adduced from reckless
Coffey, 493 F.2d 1304 (6th Cir.1974)). In Woodward,         conduct, means actual awareness.... [H]ow ‘knowing’
the court stated that it would “assume ... the existence    an abettor must be depends upon how substantial the
of a securities act violation” by the primary violator,     abettor's assistance is.” Id. As the Fifth Circuit stated:
and then determine the second element, whether an           *9 Underlying the other two elements-“general
alleged aider and abetter had “general awareness that       awareness” and “knowing substantial assistance”-is a
one's role was part of an overall activity that is          single scienter requirement that varies on a sliding
improper.” Id. at 95. In analyzing this second              scale from “recklessness” to “conscious intent.” The
element, “the surrounding circumstances and                 plaintiff must show conscious intent, unless there is
expectations of the parties are critical. If the alleged    some special duty of disclosure, or evidence that the
aider and abettor conducts what appears to be a             assistance to the violator was unusual in character
transaction in the ordinary course of his business,         and degree. In the latter two instances, a recklessness
more evidence of his complicity is essential.” Id. For      standard applies.
the third element, knowing and substantial assistance,
the Woodward court blended approaches from two              Abbott, 2 F.3d at 621 (citations and footnotes
other circuits:When it is impossible to find any duty       omitted); see also Howard v. SEC, 376 F.3d 1136,
of disclosure, an alleged aider-abettor should be           1143 (D.C.Cir.2004); Southwest Realty Ltd. v.
found liable only if scienter of the high “conscious        Daseke, 1992 WL 373166, at *11 (N.D.Tex. May 21,
intent” variety can be proved. Where some special           1992) (stating that Woodward “divided the scienter
duty of disclosure exists, then liability should be         requirement into two parts: knowledge of one's role
possible with a lesser degree of scienter. In a case        in a fraud and commitment (or intent) to aid in the
combining       silence/inaction    with     affirmative    fraud's success”). A plaintiff can state a claim for
assistance, the degree of knowledge required should         aiding and abetting securities fraud by showing
depend on how ordinary the assisting activity is in the     “severe” or “extreme” recklessness, but that requires
business involved. If the evidence shows no more            allegations that the alleged aider and abettor
than transactions constituting the daily grist of the       “encountered ‘red flags' or ‘suspicious events
mill, we would be loathe to find 10b-5 liability            creating reasons for doubt’ that should have alerted
without clear proof of intent to violate the Securities     him to the improper conduct of the primary
laws.                                                       violators.” See Howard, 376 F.3d at 1143; see also
                                                            Nathenson v. Zonagen, Inc., 267 F.3d 400, 408 (5th
Id. at 97 (citations and footnotes omitted); see also       Cir.2001) (finding company president and CEO's
Abell v. Potomac Ins. Co., 858 F.2d 1104, 1126 (5th         “severe recklessness” provided the scienter necessary
Cir.1988), vacated on other grounds sub nom Fryar           to prove securities fraud under Rule 10b-5).
v. Abell, 492 U.S. 914, 109 S.Ct. 3236, 106 L.Ed.2d
584 (1989).                                                 The SEC's amended complaint states that “Morris,
                                                            acting alone or in concert or others, in the manner set
The SEC “disagrees that the knowledge standard              forth above, knowingly provided substantial
articulated in Woodward and Howard are consistent           assistance to Halliburton in its violations....” (Docket
with the plain language of Section 20(e)” and argues        Entry No. 14, ¶ 53). The SEC argues that the
that “the allegations in [the] Amended Complaint            following facts demonstrate that Morris had a general

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       Case 3:06-cv-06384-CRB                 Document 18-3        Filed 12/11/06          Page 8 of 11
Not Reported in F.Supp.2d                                                                                   Page 8
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

awareness that his conduct was part of an overall           valued at $53 million to AWS that had not been
activity that was improper:                                 invoiced, and sought to recognize revenue from the
(1) “Morris was CFO and a licensed CPA who                  sale. AWS provided a purchase order priced under
reviewed, signed and was responsible for the public         the old regime, with the express understanding that
filings of a prominent NYSE-traded company”; (2)            Lucent would provide a credit for that invoiced
“Morris knew that in 1998 the company implemented           amount and AWS would ultimately pay only the
an accounting change that enhanced pre-tax income           price calculated under the new pricing structure. The
by as much as 46.1%”; (3) “Morris knew that                 SEC alleged that Lucent's recognition of revenue and
Halliburton disclosed its accounting for unapproved         operating income in the amount of $53 million
claims in prior annual reports, omitted any disclosure      violated GAAP and that individual officers aided and
relating to the accounting of unapproved claims in its      abetted Lucent's violations of Securities Act section
1998 Annual Report, and disclosed a new standard in         10(b), Exchange Act sections 13(a) & (b), and
its 1999 Annual Report which Morris knew was                associated SEC rules. An individual defendant
adopted during the previous fiscal year”; (4) “Morris       officer, Hayes-Bullock, moved to dismiss three
violated multiple GAAP provision by failing to              counts of aiding and abetting Lucent's securities law
inform the investing public of the accounting               violations, arguing that the SEC had failed to plead
change”; (6) “When Morris finally decided to                any allegations that would support either an inference
disclose the change, it was misleading”.                    that she knew or was reckless in not knowing that
                                                            Lucent's revenue recognition violated GAAP. The
(Docket Entry No. 23, pp. 21-22). None of these             SEC alleged that Hayes-Bullock knew of the oral
allegations concern or establish Morris's knowledge         side agreement, was responsible for ensuring that all
of wrongdoing. See Woodward, 522 F.2d at 97                 transactions were GAAP-compliant, and personally
(stating “the degree of knowledge required should           drafted letters to the chief accountant that were
depend on how ordinary the assisting activity is in the     misleading as to the side agreement's existence. Id. at
business involved”). Instead, the SEC's allegations         725. Because the SEC failed to allege when Hayes-
relate to ordinary business activities, without             Bullock knew of the alleged side agreement, the court
specifying facts that would show Morris's knowledge         dismissed the claim, stating that “the timing of this
of participation in improper activity. See id. (stating     disclosure is critical because if [Hayes-Bullock] were
“[i]f the evidence shows no more than transactions          not made aware of the side agreement until after the
constituting the daily grist of the mill, we would be       revenue was recognized, this allegation would be
loathe to find [aiding and abetting] liability without      irrelevant.” Id. The court dismissed the aiding and
clear proof of intent to violate the securities laws.”).    abetting claims against this defendant.FN6 In this case,
                                                            as in Lucent, the SEC has alleged no facts showing
*10 Although the SEC also argues that the                   that the defendant knew or was severely reckless in
allegations would, if proven, establish that Morris         not knowing of his participation in a fraudulent
was reckless, it points to neither “red flags” or           scheme.
“suspicious events” that should have put Morris on
notice of Halliburton's improper conduct. See, e.g.,
SEC v. Lucent Techs., Inc., 363 F.Supp.2d 708                        FN6. The Lucent court also analyzed
(D.N.J.2005). In Lucent, the SEC alleged that the                    whether the SEC had properly stated the
defendant corporation fraudulently and improperly                    third aiding and abetting element-that
recognized revenue and pre-tax income in violation                   Hayes-Bullock        knowingly     provided
of GAAP during fiscal year 2000. Id. at 711. That                    substantial    assistance.   Because    the
year, Lucent and its customer, AT & T Wireless                       complaint alleged that she was responsible
Services (AWS) began to negotiate a new pricing                      for ensuring that Lucent's financial
regime that priced its equipment sales to AWS                        statements complied with GAAP,
differently. The companies did not implement the                     [t]he Court can infer from this allegation
new pricing until August 2000, several months after                  that part of Hayes-Bullock's job entailed
the new regime's anticipated April 2000                              reviewing each transaction, including the
implementation date. One Lucent executive, Carter,                   transaction at issue here, to ensure that it
authorized his subordinates to enter into an oral                    was accounted for in accordance with
agreement with their AWS counterparts that the new                   GAAP, and that Hayes-Bullock was familiar
pricing structure would apply retroactively to all                   with GAAP. The Court cannot think of a
products purchased after April 1, 2000. Id. During                   better example of substantially assisting
this interim period, Lucent provided equipment                       another to commit fraud than exists here. If

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      Case 3:06-cv-06384-CRB                Document 18-3        Filed 12/11/06         Page 9 of 11
Not Reported in F.Supp.2d                                                                                 Page 9
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

        Hayes-Bullock knew of the side agreement,         require disclosure. According to APB 20:
        signed-off on the revenue recognition             A characteristic of a change in accounting principle is
        anyway in violation of GAAP, and then             that it concerns a choice from among two or more
        assisted in drafting letters to the Chief         generally accepted accounting principles. However,
        accountant that suggested that there was no       neither (a) initial adoption of an accounting principle
        side agreement, this would satisfy the            in recognition of events or transactions occurring for
        “substantial assistance” element of an aiding     the first time or that previously were immaterial in
        and abetting claim.                               effect nor (b) adoption or modification of an
        Id. at 726.                                       accounting principle necessitated by transactions or
                                                          events that are clearly different in substance from
Morris's motion to dismiss the SEC's aiding and           those previously occurring is a change in accounting
abetting claim is granted. Because the SEC has            principle.
already amended and does not argue that, if allowed
to amend, it would be able to plead additional facts      3 Original Pronouncements: Accounting Standards
showing that Morris had the requisite knowledge, the      APB Opinion No. 20, ¶ 8 (Financial Accounting
dismissal is with prejudice.                              Standards Board 2002/2003). Morris contends that
                                                          the “SEC cannot meet either standard” because
                                                          Halliburton clearly disclosed that it was “using
V. The Claim That There Is No Underlying Violation        estimating procedures as permitted under GAAP and,
                  by Halliburton                          as the record will reflect, no such change in
                                                          accounting principle occurred at all under APB 20.”
*11 Morris moves to dismiss on the basis that as a        (Docket Entry No. 19, p. 9). Morris argues that
matter of law, Halliburton's disclosures were not         “[s]ince APB 20 is the only GAAP provision that
misleading because: (1) GAAP did not require              Halliburton allegedly violated, the SEC must prove
Halliburton to disclose its accounting judgment as to     that a change in accounting principle occurred to
when claims against customers for contract cost           show that Halliburton's disclosures were misleading.”
overruns are recognized as revenues; and (2)              (Id., p. 21). According to Morris, no change in
Halliburton had no duty to qualify its disclosures of     accounting principle occurred because Halliburton
true information about its accounting and finances.       “adopted the use of SOP 81-1 to account for
The SEC alleged in its amended complaint that             transactions that were previously immaterial in their
Morris was responsible for the material                   effect and clearly differed in substance from their
misrepresentation that certain periodic reports were      predecessors.” FN8 Morris argues that the SEC's
prepared in accordance with GAAP and Regulation           amended complaint points out that BRES entered into
S-X.FN7 Specifically, the SEC points “without             fixed-price EPC contracts during the relevant period.
limitation” to disclosure requirements contained in       (Docket Entry No. 14, ¶ ¶ 12-13).
Statement of Position (SOP) 81-1(.65) of the
American Institute of Certified Public Accountants;
Accounting Principles Board Opinion (“APB”) No.                    FN8. SOP 81-1 is entitled “Accounting for
20; and Rules 4-01(a)(1), 10-01(a)(5), and 10-                     Performance of Construction-Type and
01(b)(6) of Regulation S-X. Morris argues that the                 Certain     Production-Type       Contracts.”
SEC bases its entire amended complaint on GAAP                     (Docket Entry No. 20, att. 2). This statement
violations, specifically APB 20, because the                       of position contains the FASB's guidance on
Regulation S-X rule violations all “depend on                      GAAP for these type of contracts. The SEC
whether the Company failed to comply with GAAP.”                   acknowledges that Halliburton's alleged
(Docket Entry No. 19, p. 2 n. 24).                                 accounting change is “permitted under
                                                                   [GAAP] in appropriate circumstances,” but
                                                                   argues that Halliburton's decision that
        FN7. Regulation S-X is the Commission's                    “deviated”     from      its   “longstanding
        regulation that, the SEC argues, required the              conservative practice of recognizing income
        disclosure of Halliburton's accounting                     only from resolved claims” had to be
        change.                                                    disclosed to avoid misrepresentation.
                                                                   (Docket Entry No. 14, ¶ 16).
Morris attached APB 20 to his motion to dismiss the
amended complaint. (Docket Entry No. 20. att. 1).         *12 The SEC complaint does not allege that BRES
Morris argues that its accounting change does not         entered fixed-price EPC contracts for the first time in

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      Case 3:06-cv-06384-CRB                 Document 18-3       Filed 12/11/06          Page 10 of 11
Not Reported in F.Supp.2d                                                                                 Page 10
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

mid-1997. The amended complaint alleges that               Accounting Standards Board which requires such
during the “relevant period BRES conducted a               change.
substantial portion of its business” using these
contracts and that by mid-1997, BRES had                   17 C.F.R. § 210.10-01(b)(6). The SEC alleges that
“commenced several large fixed-fee” EPC projects.          because investors did not know that Halliburton had
(Id.). At this motion to dismiss stage, this court         changed its “historic accounting policy,” the
cannot conclude that, as a matter of law, the              company's quarter-to-quarter comparisons were
accounting treatment for the claims for additional         materially misleading and violated section 17(a),
compensation from contracts “were previously               Rule 12b-20, and Regulation S-X. According to the
immaterial in their effect and clearly different in        SEC, the accounting principles on which Halliburton
substance from their predecessors.”                        relied also require disclosure of accounting changes.
                                                           APB 20 states that “[t]he nature and justification for a
Morris argues that even if Halliburton had a duty to       change in accounting principle and its effect on
disclose its use of SOP 81-1, “there is no legal basis     income should be disclosed in the financial statement
justifying the SEC's claims that the disclosure should     of the period in which the change is made. The
have included more than a statement that the change        justification for the change should explain clearly
had been made.” (Docket Entry No. 19, p. 22). For          why the newly adopted accounting principle is
example, the SEC's amended complaint alleges that          preferable.” (Docket Entry No. 23, att. A (APB No.
Halliburton's second quarter 1998 Form 10-Q did not        20) n. 17). Similarly, SOP 81-1, which applies to
disclose that without the accounting change, its           accounting of construction contracts, states that
reported income 24 percent increase in operating           amounts of unapproved claims “if material, should be
income would have in fact decreased 4.5 percent.           disclosed in the notes to the financial statements.”
(Docket Entry No. 14, ¶ 27). The SEC responds that         (Docket Entry No. 20, att. 2 (SOP 81-1(.65)).
Rule 12b-20 under the Exchange Act requires public
companies to include in public reports “such further       *13 Compliance with GAAP is a fact-specific issue.
material information, if any, as may be necessary to       Fine v. Am. Solar King Corp., 919 F.2d 290, 298 (5th
make the required statements, in the light of the          Cir.1990); In re Burlington Coat Factory Secs. Litig.,
circumstances under which they are made not                114 F.3d 1410, 1421 (3d Cir.1997) (“assuming that
misleading.” 17 C.F .R. § 240.12b-20. Regulation S-        consistency with GAAP is enough to preclude
X states in part:                                          liability, it is a factual question whether BCF's
The interim financial information shall include            accounting practices were consistent with GAAP”);
disclosures either on the face of the financial            SEC v. Caserta, 75 F.Supp.2d 79, 91
statements or in accompanying footnotes sufficient so      (E.D.N.Y.1999). Neither compliance with GAAP nor
as to make the interim information presented not           the materiality of omitted disclosures can be resolved
misleading.... [D]isclosure shall be provided where        on a motion to dismiss. Morris's motion to dismiss on
events subsequent to the end of the most recent fiscal     the grounds that GAAP did not require Halliburton to
year have occurred which have a material impact on         disclose its change in accounting treatment and that
the registrant. Disclosures should encompass for           any failure to disclose was immaterial is denied,
example, significant changes since the end of the          without prejudice to reasserting these arguments as
most recently completed fiscal year in such items as:      the basis for a motion for summary judgment.
accounting principles and practices....

17 C.F.R. § 210.10-01(a)(5). Regulation S-X also                         IV. Conclusion and Order
states:[T]he registrant shall state the date of any
material accounting change and the reasons for             Morris's motion to dismiss is granted as to the aiding
making it. In addition, for filings on Form 10-Q and       and abetting claim under section 13(a) and denied as
Form 10-QSB, a letter from the registrant's                to the negligence claim under section 17(a). A status
independent accountant shall be filed as an exhibit ...    conference is set for September 12, 2005, at 8:45
in the first Form 10-Q and Form 10-QSB subsequent          a.m., in Courtroom 11-B.
to the date of an accounting change indicating
whether or not the change is to an alternative             S.D.Tex.,2005.
principle which in his judgment is preferable under        S.E.C. v. Morris
the circumstances; except that no letter from the          Not Reported in F.Supp.2d, 2005 WL 2000665
accountant need be filed when the change is made in        (S.D.Tex.)
response to a standard adopted by the Financial

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     Case 3:06-cv-06384-CRB               Document 18-3       Filed 12/11/06        Page 11 of 11
Not Reported in F.Supp.2d                                                                      Page 11
Not Reported in F.Supp.2d, 2005 WL 2000665 (S.D.Tex.)
(Cite as: Not Reported in F.Supp.2d)

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